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                                 EXHIBIT 4
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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY

     IN RE:                   .          Case No. 21-30589(MBK)
                              .
     LTL MANAGEMENT LLC,      .
                              .
               Debtor.        .
      . . . . . . . . . . . . .
     LTL MANAGEMENT, LLC,     .          Adversary No. 21-03032(MBK)
                              .
               Plaintiff,     .
                              .          Clarkson S. Fisher U.S.
     v.                       .            Courthouse
                              .          402 East State Street
     THOSE PARTIES LISTED ON .           Trenton, NJ 08608
     APPENDIX A TO THE        .
     COMPLAINT, ET AL.,       .
                              .
               Defendants.    .          Wednesday, February 16, 2022
      . . . . . . . . . . . . .          9:05 a.m.

                          TRANSCRIPT OF TRIAL DAY THREE
                     BEFORE THE HONORABLE MICHAEL B. KAPLAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

     APPEARANCES:

     For the Debtor:               Jones Day
                                   By: GREGORY M. GORDON, ESQ.
                                        DANIEL B. PRIETO, ESQ.
                                        AMANDA RUSH, ESQ.
                                   2727 North Harwood Street, Suite 500
                                   Dallas, TX 75201

                                   Jones Day
                                   By: ROBERT W. HAMILTON, ESQ.
                                   325 John H. McConnell Blvd., Suite 600
                                   Columbus, Ohio 43215-2673


     Audio Operator:               Wendy Romero

     Proceedings recorded by electronic sound recording, transcript
                    produced by transcription service.
     ______________________________________________________________

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                            Kim - Continued Cross/Jonas                         30
  1 the time LTL filed, was it named as a defendant in any

  2 litigation whatsoever?

  3 A      So if you're talking specifically about, if you look at

  4 the complaint designation -- the name that's written there, is

  5 their name there, the answer is no.

  6 Q      Thank you.

  7        You've testified that you don't believe there's any

  8 relationship between Project Plato and Project Diamond, the

  9 spin-out of consumer products, correct?

 10 A      Yes.

 11 Q      And that's because, I think yesterday, you think that's --

 12 the reason you don't know about it is because Project Diamond

 13 was kept either secret, confidential, whatever word you want to

 14 use, right?

 15 A      But both projects were kept confidential.

 16 Q      Okay.    So you didn't --

 17                MR. JONAS:   Let's pull up Exhibit 300, please.

 18 BY MR. JONAS:

 19 Q      And this is Binder 7.

 20        Exhibit 300, at the top, it's an email from Duane Van

 21 Arsdale.      Do you know who he is?

 22 A      I do.

 23 Q      Who is he?

 24 A      He's the assistant treasurer, now the treasurer.

 25 Q      Treasurer at Johnson & Johnson, right?




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                                Lisman - Cross/Brown                            133
  1 correct?

  2 A      Correct.

  3 Q      Based on everything you know from your work in the

  4 controller's office at Johnson & Johnson, was LTL created and

  5 put into bankruptcy to benefit Project Diamond?

  6 A      No.

  7 Q      We've heard a lot of very serious allegations about people

  8 trying to juice up an IPO by creating a subsidiary and spinning

  9 it into bankruptcy to benefit a consumer health business.               Is

 10 that true?

 11 A      I was never aware of that.       No.

 12 Q      Okay.   Do you think it's important when you look at other

 13 people's emails to look at the whole thing before you comment

 14 on it?

 15 A      Absolutely.

 16 Q      Okay.   Did anybody ever show you the second page of this

 17 document?

 18 A      No.

 19 Q      Okay.   Did you have the opportunity to review some

 20 correspondence about separate and distinct modeling of Diamond

 21 and LTL?

 22 A      I have not reviewed.      No.

 23 Q      Do you have any reason to believe that what's being

 24 discussed in this document means that LTL was created to

 25 benefit Diamond?




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